                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

 U.S. BANK NATIONAL ASSOCIATION,
 as Indenture Trustee,

                      Petitioner,                              1:16-cv-00341
        v.                                             MEMORANDUM AND ORDER

  NATIONAL COLLEGIATE
  STUDENT LOAN TRUST 2003-1,
  NATIONAL COLLEGIATE
  STUDENT LOAN TRUST 2004-1,
  NATIONAL COLLEGIATE
  STUDENT LOAN TRUST 2004-2,
  NATIONAL COLLEGIATE
  STUDENT LOAN TRUST 2005-1,
  NATIONAL COLLEGIATE
  STUDENT LOAN TRUST 2005-2,
  NATIONAL COLLEGIATE
  STUDENT LOAN TRUST 2005-3

                      Defendants.


      All parties stipulate to the dismissal of all claims, defenses, and the case in its

entirety with prejudice. D.I. 127. The Court approves. This case is dismissed with

prejudice. Each party is to bear its own attorneys’ fees, costs, and expenses.

      IT IS SO ORDERED.

      Dated this 18th day of July, 2023.

                                               BY THE COURT:

                                               s/ Joseph F. Bataillon
                                               Senior United States District Judge
